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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,

Plaintiff, Case No. 22-CR-00115-JFH

Vv.

JOHNNY WESLEY BOYD SPARKS,
a/k/a “J5,”

Defendants.

ORDER TO APPLY PROTECTIVE ORDER
Upon the unopposed motion of the United States for the protective order (Dkt. # 77)
previously issued in this case, to apply to defendant Johnny Wesley Boyd Sparks,
IT IS THEREFORE ORDERED that the protective order (Dkt. #77) apply to

defendant Johnny Wesley Boyd Sparks.
ORDERED tis 32 & October, A022.

Cone )\ pb >

SUSAN E. HUNFSMAN |
UNITED STATES MAGISTRATE JUDGE

